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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION

                                                 §
 THE STATE OF TEXAS and                          §
                                                 §
 THE STATE OF MISSOURI,                          §
                                                 §
        Plaintiffs,                              §     Case No. 2:21-cv-00067-Z
                                                 §
 v.                                              §
                                                 §
 JOSEPH R. BIDEN, JR., in his official           §
 capacity as President of the United States      §
 of America, et al.,                             §
                                                 §
        Defendants.                              §

                 PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO STAY

       The Court should deny Defendants’ motion for a stay pending appeal. See ECF No. 98. As

this Court has already held, both the merits and the equities favor Plaintiffs. See ECF No. 94.

       This Court graciously granted a seven-day stay “to allow the federal government time to

seek emergency relief at the appellate level.” Id. at 53. Instead of accepting that invitation,

Defendants have come back to this Court asking for more. They now ask for a full stay pending

appeal. But they offer no new arguments to justify asking this Court to change its mind. Nor do

they explain why they need a ruling less than twenty-three hours after they filed a motion that they

took more than seventy-three hours to write.

                                              STANDARD

       Courts “consider four factors in deciding whether to grant a stay pending appeal:

(1) whether the stay applicant has made a strong showing that he is likely to succeed on the merits;

(2) whether the applicant will be irreparably injured absent a stay; (3) whether issuance of the stay

will substantially injure the other parties interested in the proceeding; and (4) where the public
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interest lies.” Texas. v. United States, 787 F.3d 733, 746–47 (5th Cir. 2015) (cleaned up). “A stay

is not a matter of right, even if irreparable injury might otherwise result to the appellant.” Id.

(cleaned up).

                                            ARGUMENT

        The Court should deny Defendants’ motion for a stay pending appeal.

I.      The Equities and the Public Interest Foreclose a Stay

        Defendants re-urge an argument that this Court has already rejected: whether the balance

of harms favors Plaintiffs or Defendants. See ECF No. 98 at 3–6. Indeed, Defendants acknowledge

they have “previously explained” this argument in their “previous submissions” Id. at 3, 4; see

also id. at 6–7 (“incorporate[ing] here by reference”). The Court properly rejected Defendants’

position because they “have no ‘interest in the perpetuation of unlawful agency action.’ ECF No.

94 at 50 (quoting League of Women Voters of United States v. Newby, 838 F.3d 1, 12 (D.C. Cir.

2016)). “Rather, there is a ‘public interest in having governmental agencies abide by the federal

laws that govern their existence and operations.’” Id. (quoting Washington v. Reno, 35 F.3d 1093,

1103 (6th Cir. 1994)). Defendants’ motion for a stay never suggests that the equities governing

whether to issue a permanent injunction differ from the equities governing whether to stay that

permanent injunction. Thus, there is no need for the Court to revisit this issue.

        If the Court does revisit the issue, however, it should hold that Defendants’ arguments are

meritless. First, Defendants erroneously suggest that the balance of harms always favors the federal

government in immigration cases. Not so. In the case most analogous to this one, Texas and other

States successfully challenged DAPA, and the Fifth Circuit refused to stay Judge Hanen’s

injunction. See Texas v. United States, 787 F.3d 733, 769 (5th Cir. 2015).

        To be sure, when a federal court prevents the Executive Branch from enforcing the nation’s

immigration laws against illegal aliens, a stay can be appropriate. For example, “[t]here is always
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a public interest in prompt execution of removal orders: The continued presence of an alien

lawfully deemed removable undermines the streamlined removal proceedings [Congress]

established, and ‘permit[s] and prolong[s] a continuing violation of United States law.’” Nken v.

Holder, 556 U.S. 418, 436 (2009) (quoting Reno v. Am.-Arab Anti-Discrimination Committee, 525

U.S. 471, 490 (1999)). Thus, it is no surprise that the federal government can cite courts staying

injunctions that would have prevented the enforcement of immigration restrictions and prolonged

or exacerbated violations of federal law. See, e.g., Wolf v. Innovation L. Lab, 140 S. Ct. 1564

(2020); Trump v. Sierra Club, 140 S. Ct. 1 (2019); Trump v. Hawaii, No. 17A550, 2017 WL

5987406 (U.S. Dec. 4, 2017); Trump v. Int’l Refugee Assistance Project, No. 17A560, 2017 WL

5987435 (U.S. Dec. 4, 2017); El Paso Cty. v. Trump, 982 F.3d 332, 337 (5th Cir. 2020); Innovation

L. Lab v. McAleenan, 924 F.3d 503, 510 (9th Cir. 2019).

       But here, the federal government is violating, not enforcing, federal immigration law. See,

e.g., ECF No. 94 at 42–44. According to Defendants themselves, the June 1 Memorandum

represented a mere “non-enforcement policy.” ECF No. 63 at 14. “There is always a public interest

in prompt” enforcement of the immigration laws. Nken, 556 U.S. at 436. But there is no public

interest in abdication of statutory obligations. That is why the Fifth Circuit distinguishes between

the public “interest in expeditiously . . . controlling immigration into the United States,” which

may justify staying an injunction, and the Executive Branch’s purported interest in not enforcing

the immigration laws, which does not. See Texas, 787 F.3d at 768 (holding that “a stay pending

appeal is far from justified”).

       Of course, rescinding MPP was not really a non-enforcement policy. See ECF No. 94 at

31–32. “The only question MPP answers is where the alien will be while the federal government

pursues removal—in the United States or in Mexico.” Id. at 32. Thus, this case bears no


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resemblance to cases in which stays were necessary to allow the federal government to proceed

against illegal aliens.

         Second, Defendants suggest that the Court’s injunction threatens the separation of powers,

see ECF No. 98 at 4, but the Court simply ordered the relief authorized by Congress. See, e.g.,

ECF No. 94 at 45. In any event, the Executive Branch’s “claims that the injunction offends

separation of powers” goes to “the resolution of the case on the merits, not whether the injunction

is stayed pending appeal.” Texas, 787 F.3d at 767–68.

         In the end, Defendants’ claims regarding the allegedly deleterious effects of reinstating

MPP are unreliable. Defendants’ rescission of MPP was arbitrary and capricious because, among

other things, they “failed to consider several critical factors” and because “one of the key reasons

the Secretary gave for terminating for MPP is arbitrary.” ECF No. 94 at 36, 38. Having already

concluded that Defendants’ “reasoning [was] without any merit,” ECF No. 94 at 41, the Court

should not defer to Defendants’ conclusion.

II.      Defendants Are Not Likely to Prevail on the Merits

         Defendants are not entitled to a stay because they cannot make “a strong showing that [they

are] likely to succeed on the merits.” Texas, 787 F.3d at 746 (emphasis added). This Court has

already held that Plaintiffs, not Defendants, prevail on the merits, see ECF No. 94 at 34–44, and

Defendants admit as much, see ECF No. 98 at 6–7. They do not argue that the merits inquiry on

appeal will be more favorable for them than the merits inquiry in this Court. In fact, Defendants

are even less likely to prevail on appeal than in this Court: “To succeed on the merits, the

government must show that the district court abused its discretion by entering” an “injunction.”

Texas, 787 F.3d at 747 (emphasis added). Because Defendants cannot make that showing, their

motion should be denied.


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III.   Self-Inflicted Harms Do Not Warrant Equitable Relief Such as a Stay

       Defendants now complain of harm that they brought on themselves. That alone is sufficient

reason to deny a stay pending appeal. A request for a stay pending appeal implicates equitable

considerations, including whether the movant has “unclean hands.” In re GGW Brands, LLC, No.

2:13-bk-15130, 2013 WL 6906375, at *26–*27 (Bankr. C.D. Cal. Nov. 15, 2013) (holding that

inequitable conduct was “sufficient to deny” “a stay pending appeal”).

       Here, Defendants’ “problems are entirely self-inflicted.” ECF No. 94 at 47. They “could

have avoided” such problems “by delaying preparatory work until the litigation was resolved.” Id.

(quoting Texas, 809 F.3d at 187). “That the government’s asserted harm is largely self-inflicted

‘severely undermines’ its claim for equitable relief.” Al Otro Lado v. Wolf, 952 F.3d 999, 1008

(9th Cir. 2020) (citing cases form three other circuits); see also 11A Wright & Miller, Federal

Practice and Procedure § 2948.1 (3d ed.) (“Not surprisingly, a party may not satisfy the irreparable

harm requirement if the harm complained of is self-inflicted.”).

       The delay here would have been minimal. After all, this litigation moved remarkably

quickly. The Court entered final judgment “only slightly more than two months” after “the

issuance of the June 1 Memorandum.” ECF No. 94 at 47 n.13. As this Court has previously

explained, Defendants appear to claim that they faced longer potential delays because “MPP had

been in the process of termination for months.” ECF No. 94 at 48. But that establishes only the

June 1 Memorandum was a bad-faith, “post hoc” rationalization “for a decision that was already

made.” ECF No. 94 at 48. Such inequitable conduct renders Defendants ineligible for an equitable

remedy like a stay pending appeal.

                                          CONCLUSION

       Texas and Missouri respectfully request that the Court deny the motion for a stay.


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Date: August 17, 2021                     Respectfully submitted.

ERIC S. SCHMITT                           KEN PAXTON
Attorney General of Missouri              Attorney General of Texas

D. JOHN SAUER, #58720MO*                  BRENT WEBSTER
Solicitor General                         First Assistant Attorney General

/s/ Jesus A. Osete ______                 JUDD E. STONE II
JESUS A. OSETE, #69267MO*                 Solicitor General
Deputy Solicitor General &                Texas Bar No. 24076720
Deputy Attorney General for
Special Litigation                        PATRICK K. SWEETEN
                                          Deputy Attorney General for Special Litigation
OFFICE OF THE ATTORNEY GENERAL            Texas Bar No. 00798537
Supreme Court Building
207 West High Street                      /s/ William T. Thompson
P.O. Box 899                              WILLIAM T. THOMPSON
Jefferson City, Missouri 65102            Deputy Chief, Special Litigation Unit
Tel. (573) 751-8870                       Attorney-in-Charge
Fax (573) 751-0774                        Texas Bar No. 24088531
John.Sauer@ago.mo.gov
                                          RYAN D. WALTERS
Counsel for Plaintiff State of Missouri   Special Counsel
                                          Texas Bar No. 24105085
*Admitted pro hac vice
                                          OFFICE OF THE ATTORNEY GENERAL
                                          SPECIAL LITIGATION UNIT
                                          P.O. Box 12548 (MC-009)
                                          Austin, Texas 78711-2548
                                          Tel.: (512) 463-2100
                                          Fax: (512) 457-4410
                                          patrick.sweeten@oag.texas.gov
                                          will.thompson@oag.texas.gov
                                          ryan.walters@oag.texas.gov
                                          jeff.white@oag.texas.gov

                                          Counsel for Plaintiff State of Texas




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                                  CERTIFICATE OF SERVICE

       I certify that on August 17, 2021, a true and accurate copy of the foregoing document was

filed by CM/ECF and served on all counsel of record.

                                                   /s/ William T. Thompson
                                                   WILLIAM T. THOMPSON




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